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              EXHIBIT E
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                    As filed with the Securities and Exchange Commission on April 25, 2007
                                                                                  Registration No. 333-_____


                      UNITED STATES
          SECURITIES AND EXCHANGE COMMISSION
                                               Washington, D.C. 20549

                                                  FORM S-3
                  REGISTRATION STATEMENT UNDER THE SECURITIES ACT OF 1933


                                     TRIBUNE COMPANY
                                  (Exact name of registrant as specified in its charter)
                        Delaware                                                    XX-XXXXXXX
     (State or other jurisdiction of incorporation or                    (I.R.S. Employer Identification No.)
                      organization)

                                          435 North Michigan Avenue
                                             Chicago, Illinois 60611
                                                (312) 222-9100
(Address, including zip code, and telephone number, including area code, of registrant’s principal executive offices)
                                             Crane H. Kenney, Esq.
                             Senior Vice President, General Counsel and Secretary
                                                Tribune Company
                                          435 North Michigan Avenue
                                              Chicago, Illinois 60611
                                                  (312) 222-9100
        (Name, address, including zip code, and telephone number, including area code, of agent for service)

                                                     with copies to:
            Steven A. Rosenblum, Esq.                                          Larry A. Barden, Esq.
           Wachtell, Lipton, Rosen & Katz                                        Sidley Austin LLP
               51 West 52nd Street                                           One South Dearborn Street
               New York, NY 10019                                             Chicago, Illinois 60603
                   (212) 403-1000                                                  (312) 853-7000


     Approximate date of commencement of proposed sale to the public: From time to time after this
registration statement becomes effective.
     If the only securities being registered on this Form are being offered pursuant to dividend or interest
reinvestment plans, please check the following box: 
     If any of the securities being registered on this Form are to be offered on a delayed or continuous basis pursuant
to Rule 415 under the Securities Act of 1933, other than securities offered only in connection with dividend or
interest reinvestment plans, check the following box: 
     If this Form is filed to register additional securities for an offering pursuant to Rule 462(b) under the Securities
Act, check the following box and list the Securities Act registration statement number of the earlier effective
registration statement for the same offering. 
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     If this Form is a post-effective amendment filed pursuant to Rule 462(c) under the Securities Act, check the
following box and list the Securities Act registration statement number of the earlier effective registration statement
for the same offering. 
     If this Form is a registration statement pursuant to General Instruction I.D. or a post-effective amendment
thereto that shall become effective upon filing with the Commission pursuant to Rule 462(e) under the Securities
Act, check the following box. 
     If this Form is a post-effective amendment to a registration statement filed pursuant to General Instruction I.D.
filed to register additional securities or additional classes of securities pursuant to Rule 413(b) under the Securities
Act, check the following box. 
                                        CALCULATION OF REGISTRATION FEE
                                                                Proposed             Proposed
                                                               Maximum              Maximum
     Title of Each Class of Securities to    Amount to be     Offering Price        Aggregate              Amount of
                Be Registered                Registered(1)      Per Share          Offering Price        Registration Fee
Common Stock, $.01 par value per                                                   1,579,622,731.20
  share                                      48,753,788           N/A          $                (2)       $48,494.42
Series A Junior Participating Preferred
  Stock Purchase Rights                          (3)               (3)                  (3)                    (3)

(1) Also registered hereby are such additional and indeterminate number of shares of common stock and Series A
    Junior Participating Preferred Stock purchase rights of the Registrant as may become issuable as the result of
    stock splits, stock dividends or similar transactions affecting the common stock of the Registrant.
(2) Estimated solely for purposes of calculating the registration fee pursuant to Rule 457(c) under the Securities
    Act, based on the product of (a) 48,753,788, multiplied by (b) $32.40, the average of the high and low sale
    prices for shares of the Registrant’s common stock as reported on the New York Stock Exchange on April 23,
    2007.
(3) Rights are initially carried and traded with the common stock of the Registrant. The value attributable to such
    rights, if any, is reflected in the market price of the common stock of the Registrant.
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PROSPECTUS

                                           Tribune Company
                  48,753,788 Shares of Common Stock, par value $0.01 per share
     This prospectus relates solely to the resale from time to time of up to an aggregate of 48,753,788 shares of
common stock of Tribune Company by the stockholders identified in this prospectus that have contractual
registration rights with us or any of their permitted transferees, as described herein. The selling stockholders may
sell none, some or all of the shares offered by this prospectus. We cannot predict when or in what amounts the
selling stockholders may sell any of the shares offered by this prospectus. You should read this prospectus and the
applicable prospectus supplements carefully before you invest.

     We will not receive any of the proceeds from the sale of these shares by the selling stockholders. We have
agreed to pay all expenses relating to this registration, except the underwriting discounts, commissions and transfer
taxes, if any, relating to the sale of these shares of our common stock, and any fees and expenses of outside counsel
for the selling stockholders.

     Our common stock is listed on the New York Stock Exchange under the symbol “TRB.” The last reported sale
price of our common stock on April 24, 2007 was $32.55 per share. Our executive offices are located at 435 North
Michigan Avenue, Chicago, Illinois 60611, and our telephone number is (312) 222-9100.

    Investing in our common stock involves risks. See “Risk Factors” beginning on page 5.

    Neither the Securities and Exchange Commission nor any state securities commission has approved or
disapproved of these securities or determined if this prospectus is truthful or complete. Any representation to
the contrary is a criminal offense.

                                    The date of this prospectus is April 25, 2007.
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                                            ABOUT THIS PROSPECTUS

     This prospectus is part of a registration statement that we filed with the Securities and Exchange Commission
(the “SEC”) utilizing a shelf registration process. Under this shelf registration process, the selling stockholders
named herein may from time to time sell the shares of common stock described in this prospectus in one or more
offerings. This prospectus provides you with a general description of the common stock that the selling
stockholders may offer. Each time a selling stockholder sells common stock, we will provide you with a prospectus
supplement and, if applicable, a pricing supplement. The prospectus supplement and any applicable pricing
supplement will describe the specific amounts, prices and terms of the common stock being offered. It is important
that you read and consider all information contained or incorporated by reference in this prospectus, the applicable
prospectus supplement and any applicable pricing supplement. The prospectus supplement and any applicable
pricing supplement may also add to, update or change the information in this prospectus. You should also read and
consider the information in the documents to which we have referred you in “Where You Can Find More
Information” in this prospectus.

     No person is authorized to give any information or to make any representations other than those contained or
incorporated by reference in this prospectus and, if given or made, such information or representations must not be
relied upon as having been authorized. This prospectus does not constitute an offer to sell or the solicitation of an
offer to buy any securities other than the securities described in this prospectus or an offer to sell or the solicitation
of an offer to buy such securities in any circumstances in which such offer or solicitation is unlawful. Neither the
delivery of this prospectus, the applicable prospectus supplement or any applicable pricing supplement, nor any sale
made hereunder, shall under any circumstances create any implication that there has been no change in our affairs
since the date of this prospectus or the applicable prospectus supplement, or that the information contained or
incorporated by reference in this prospectus is correct as of any time subsequent to the date of such information.

     The distribution of this prospectus, the applicable prospectus supplement and any applicable pricing supplement
and the offering of the shares of our common stock covered by this prospectus in certain jurisdictions may be
restricted by law. This prospectus does not constitute an offer, or an invitation on our behalf, to subscribe to or
purchase any of the shares of our common stock, and may not be used for or in connection with an offer or
solicitation by anyone, in any jurisdiction in which such an offer or solicitation is not authorized or to any person to
whom it is unlawful to make such an offer or solicitation.

    In this prospectus, unless otherwise stated, references to “Tribune,” “the Company,” “we,” “us” and “our” refer
to Tribune Company and its subsidiaries.

                        BACKGROUND—THE LEVERAGED ESOP TRANSACTIONS

     On April 1, 2007, our board of directors (the “Board”), based on the recommendation of a special committee of
the Board comprised entirely of independent directors (the “Special Committee”), approved a series of transactions
(which we refer to collectively as the “Leveraged ESOP Transactions”) with a newly formed Tribune Employee Stock
Ownership Plan (the “ESOP”), EGI-TRB, L.L.C., a Delaware limited liability company (the “Zell Entity”) wholly
owned by Sam Investment Trust (a trust established for the benefit of Samuel Zell and his family), and Samuel Zell.
Representatives of the Chandler Trusts (as defined below) on the Board abstained from voting as directors.

      Before recommending the Leveraged ESOP Transactions, the Special Committee conducted a process to solicit
and consider a number of third-party proposals and other alternatives with respect to the Company. These included the
sale of the Company, a sale or spin-off of the Company’s broadcasting operations, and a recapitalization of the
Company. The Special Committee concluded that the Leveraged ESOP Transactions were in the best interests of the
Company and its stockholders, and recommended approval to the Board.

     The Leveraged ESOP Transactions consist of a series of transactions that include the following:

     •    Pursuant to a purchase agreement dated April 1, 2007 (the “ESOP Purchase Agreement”), the ESOP
          purchased 8,928,571 shares of our common stock from the Company at a price of $28.00 per share. The
          ESOP paid for this purchase with a promissory note of the ESOP in favor of the Company in the principal
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    amount of $250 million, to be repaid by the ESOP over the 30-year life of the loan through its use of
    annual contributions from the Company to the ESOP and/or distributions paid on the shares of our
    common stock held by the ESOP.

•   Pursuant to a purchase agreement dated April 1, 2007 (the “Zell Entity Purchase Agreement” and, together
    with the ESOP Purchase Agreement, the “Purchase Agreements”), the Zell Entity made an initial


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    investment of $250 million in the Company in exchange for (1) 1,470,588 shares of our common stock at
    a price of $34.00 per share and (2) an unsecured subordinated exchangeable promissory note of the
    Company in the principal amount of $200 million, which the Company must repay immediately prior to
    the Merger (as defined below) (collectively, the “Step One Purchase Transaction”). The promissory note
    is exchangeable at the Company’s option, or automatically upon termination of the Merger Agreement (as
    defined below), into an aggregate of 5,882,353 shares of our common stock, subject to antidilution
    adjustments. The shares of our common stock, the exchangeable promissory note and any underlying
    shares acquired upon exchange that are held by the Zell Entity are subject to certain transfer restrictions
    until April 23, 2010. Pursuant to the Zell Entity Purchase Agreement, the Company will cause Mr. Zell to
    be appointed to its Board at such time as the Board next takes any action as a board of directors after
    April 23, 2007, the date of the consummation of the Step One Purchase Transaction, but in no event later
    than May 9, 2007; Mr. Zell will be appointed as Chairman of the Board effective as of the date of the
    consummation of the Step Two Purchase Transaction (as defined below).

•   The Company agreed to commence a tender offer to repurchase up to 126,000,000 shares of our common
    stock that are currently outstanding at a price of $34.00 per share (the “Share Repurchase”). The
    Company’s obligations to consummate the Share Repurchase are subject to various conditions, including
    the receipt of necessary financing for the Share Repurchase, the receipt of a solvency opinion from
    Valuation Research Corporation or another nationally recognized valuation firm satisfactory to us, and the
    closing of the Step One Purchase Transaction (which has been satisfied).

•   The Company entered into an Agreement and Plan of Merger (the “Merger Agreement”) with GreatBanc
    Trust Company, not in its individual or corporate capacity, but solely as trustee of the Tribune Employee
    Stock Ownership Trust, a separate trust which forms a part of the ESOP, Tesop Corporation, a Delaware
    corporation wholly owned by the ESOP (“Merger Sub”), and the Zell Entity (solely for the limited
    purposes specified therein) providing for Merger Sub to be merged with and into the Company, and
    following such merger, the Company to continue as the surviving corporation wholly owned by the ESOP
    (the “Merger”). In connection with the Merger, each outstanding share of our common stock (other than
    those held by the ESOP and other than dissenting shares) will be converted into the right to receive $34.00
    per share in cash. If the Merger does not close by January 1, 2008, stockholders will receive an additional
    8% annualized “ticking fee,” calculated from January 1, 2008 through the date of closing of the Merger.
    The Merger is subject to various conditions set forth in the Merger Agreement. Completion of the Share
    Repurchase is not a condition to the Merger.

•   In the Merger, the Zell Entity will receive cash for the shares of our common stock it owns and,
    immediately prior to the Merger, the Company will repay the exchangeable promissory note held by the
    Zell Entity. Following the consummation of the Merger, the Zell Entity will purchase from the Company,
    for an aggregate amount of $315 million, a $225 million subordinated promissory note and a 15-year
    warrant (the “Warrant”) (collectively, the “Step Two Purchase Transaction”). The Warrant will entitle the
    Zell Entity to purchase 43,478,261 shares of our common stock (subject to adjustment), which will
    represent approximately 40% of the economic equity interest in the Company following the Merger (on a
    fully-diluted basis, including after giving effect to share equivalents under a management equity incentive
    plan). The Warrant will have an initial aggregate exercise price of $500 million, increasing by $10 million
    per year for the first 10 years of the Warrant, for a maximum aggregate exercise price of $600 million
    (subject to adjustment).

•   The Company has agreed to grant the Zell Entity and the ESOP registration rights, in the event the Merger
    does not close, with respect to the shares of our common stock that the Zell Entity and the ESOP
    purchased from the Company in their initial investments. However, the Zell Entity will not be able to
    exercise its registration rights prior to April 23, 2010 and, in the event the Merger does not close, will be
    prohibited from selling or assigning its shares of our common stock, exchangeable promissory note or
    underlying shares acquired upon exchange until April 23, 2010 other than to certain permitted transferees.
    In addition, the ESOP will not be able to exercise its registration rights prior to April 1, 2008. The
    Company has also agreed to grant registration rights to each of Chandler Trust No. 1 and Chandler Trust
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    No. 2 (together, the “Chandler Trusts”), the selling stockholders identified in this prospectus. See “Selling
    Stockholders — Material Relationships with the Selling Stockholders.”

•   The Company has secured financing commitments from certain lenders to provide the Company with the
    ability to borrow the amounts required for purposes of financing the Leveraged ESOP Transactions, to
    refinance certain indebtedness of the Company, including indebtedness under its existing credit facilities,
    and for working capital and general corporate purposes of the Company. The financing commitments are
    subject to certain conditions, and, as of the date of this prospectus, definitive agreements have not been
    executed.

•   The Chandler Trusts have entered into agreements whereby they have committed to tender in the Share
    Repurchase all shares of our common stock held by them as of the expiration of the Share Repurchase and
    to vote all of the shares held by them as of the record date in favor of the Merger Agreement and the
    transactions contemplated thereby. See “Selling Stockholders — Material Relationships with the Selling
    Stockholders.”


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     •    After the 2007 baseball season, the Company intends to sell the Chicago Cubs and the Company’s 25
          percent stake in Comcast SportsNet Chicago. The Company currently expects that proceeds from such
          sales will be used to pay down Company debt.

                      CAUTIONARY NOTE ON FORWARD-LOOKING STATEMENTS

     This prospectus, including any documents incorporated by reference or deemed to be incorporated by reference,
contains “forward-looking statements” that are subject to certain risks, trends and uncertainties that could cause actual
results and achievements to differ materially from those expressed in the forward-looking statements. Such risks,
trends and uncertainties are in some instances beyond the Company’s control.

      The words “believe,” “expect,” “anticipate,” “estimate,” “could,” “should,” “intend” and similar expressions
generally identify forward-looking statements. These statements are not guarantees of performance. They are
inherently subject to known and unknown risks, uncertainties and assumptions that could cause our future results and
stockholder value to differ materially from those expressed in these statements. Our actual actions or results may differ
materially from those expected or anticipated in the forward-looking statements. Specific factors that might cause such
a difference include, but are not limited to, the following:

     •    our ability to consummate the Merger and the other Leveraged ESOP Transactions;

     •    our ability to obtain necessary consents or approvals from the Federal Communications Commission
          (“FCC”) under the Communications Act of 1934;

     •    our ability to obtain the necessary financing for the Share Repurchase and the Merger;

     •    the effects of our increased debt subsequent to the Share Repurchase and the other Leveraged ESOP
          Transactions;

     •    the demand for our advertising being impacted by changes in economic conditions and fragmentation of
          the media landscape;

     •    the possible decline in our newspaper circulation and broadcasting audience share as consumers migrate to
          other media alternatives;

     •    changes in the regulatory landscape affecting our business operations and asset mix;

     •    the impact of the availability and cost of quality syndicated programming on our television ratings;

     •    the impact of events beyond our control;

     •    unforeseen volatility in newsprint prices and cost of broadcast programming rights;

     •    the highly competitive nature of the media business or our ability to achieve operating and financial
          targets;

     •    our ability to attract and retain qualified management and personnel;

     •    potential claims and other liabilities that may be asserted against the Company;

     •    fluctuations in the market value of our common stock;

     •    the outcome of previously disclosed governmental investigations by the United States Attorney for the
          Eastern District of New York;
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•   delays in supply of our raw materials used in our operations;

•   changes in our business strategy or development plans, including potential divestiture, exchange,
    reorganization or spin-off of certain of our publishing or interactive assets and some or all of our
    broadcasting and entertainment assets;


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     •    our borrowing costs increasing due to increased debt;

     •    any further downgrade in the Company’s credit ratings as a result of the Share Repurchase and the other
          Leveraged ESOP Transactions;

     •    changes in accounting standards;

     •    adverse effects of derivative transactions;

     •    adverse results from litigation or governmental investigations;

     •    additional tax liabilities;

     •    changes in interest rates;

     •    our reliance on third-party vendors for various services;

     •    labor strikes, lock-outs and protracted negotiations; and

     •    future acquisitions, investments and divestitures.

     These risks and uncertainties include risks related to our businesses as well as the factors relating to the
transactions discussed in this prospectus. You should not place undue reliance on the forward-looking statements,
which speak only as to the date of this prospectus or the date of documents incorporated by reference. We undertake
no obligation to update any forward-looking statements, whether as a result of new information, future events or
otherwise.

     In addition, please refer to our Annual Report on Form 10-K for the fiscal year ended December 31, 2006, as filed
with the SEC on February 26, 2007, which is incorporated by reference herein, for additional information on risks and
uncertainties that could cause actual results to differ materially from those described in the forward-looking statements
or that may otherwise impact our company and business. See “Where You Can Find More Information” below. Any
statement contained in this prospectus or in a document incorporated herein by reference into this prospectus shall be
deemed to be modified or superseded to the extent such statement is modified or superseded in any subsequently filed
document. Any statement so modified or superseded shall not be deemed, except as so modified or superseded, to
constitute a part of this prospectus.

                                               TRIBUNE COMPANY

      We are a media and entertainment company, operating primarily in the United States, that conducts our operations
through two business segments: publishing and broadcasting and entertainment. In publishing, our leading daily
newspapers include the Los Angeles Times, Chicago Tribune and Newsday (Long Island, NY), The Sun (Baltimore),
South Florida Sun-Sentinel, Orlando Sentinel and Hartford Courant. Our broadcasting group operates 23 television
stations, Superstation WGN on national cable, Chicago’s WGN-AM and the Chicago Cubs baseball team. Popular
news and information websites complement our print and broadcast properties and extend our nationwide audience.
These segments reflect the manner in which we sell our products to the marketplace, manage our operations and make
business decisions. Our media operations are principally in major metropolitan areas of the United States and compete
against all types of media on both a local and national basis. We were founded in 1847 and incorporated in Illinois in
1861. As a result of a corporate restructuring in 1968, we became a holding company incorporated in Delaware.


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                                                 RISK FACTORS

     Investing in our common stock involves risks. You should carefully consider, among other things, the matters
discussed under Item 1A of our most recently filed Annual Report on Form 10-K for the fiscal year ended December
31, 2006, as filed with the SEC on February 26, 2007, and in other documents that we subsequently file with the
SEC, all of which are incorporated by reference into this prospectus and, in particular, the risk factors described
below.

Our businesses may be adversely affected by the Leveraged ESOP Transactions and the failure to consummate
the pending Leveraged ESOP Transactions.

     We have spent significant time and financial resources preparing for the Leveraged ESOP Transactions. There
are uncertainties and other factors that may affect our business prior to the consummation of the Leveraged ESOP
Transactions, including:

     •   the outcome of any litigation and judicial actions or proceedings that have been or may be instituted
         against us and others relating to the proposed Leveraged ESOP Transactions, including any legislative or
         regulatory action;

     •   management’s attention from our day to day business and potential growth opportunities may be diverted
         during the pendency of the Leveraged ESOP Transactions;

     •   uncertainties with regards to the Leveraged ESOP Transactions may adversely affect our existing
         relationships with our employees, customers and vendors; and

     •   certain costs relating to the Merger, such as legal, accounting and financial advisory fees, are payable by
         us whether or not the Merger is completed.

    Additionally, there are uncertainties and other factors that may affect the timing of the consummation of the
Share Repurchase and the Merger, as well as whether or not the Share Repurchase and the Merger will be
consummated, including:

     •   the occurrence of any event, change or other circumstances that could give rise to the termination of the
         Merger Agreement or the Zell Entity Purchase Agreement;

     •   the inability to complete the Merger due to the failure to obtain stockholder approval or the failure to
         satisfy other conditions to consummation of the Merger, including the inability to obtain the approval of
         the FCC or other regulatory approvals required by the Merger Agreement and the Zell Entity Purchase
         Agreement;

     •   the failure of us to obtain the necessary financing arrangements set forth in the debt commitment letters
         received in connection with the Leveraged ESOP Transactions; and

     •   the failure of the Share Repurchase or the Merger to close for any other reason.

     In the event that the Leveraged ESOP Transactions are not completed in a timely manner or at all, we may be
subject to several risks including the following:

     •   the current market price of our common stock may reflect a market assumption that the Leveraged ESOP
         Transactions will occur and a failure to complete the Leveraged ESOP Transactions could result in a
         decline in the market price of our common stock;

     •   our current plans and operations may be disrupted; and
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    •    the potential difficulties for our employee retention as a result of any delay of the completion of the
         Merger.

We currently have substantial debt and other financial obligations, and we expect to incur significant additional
debt in connection with the Leveraged ESOP Transactions.

    We currently have substantial debt and other financial obligations. In connection with the Leveraged ESOP


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Transactions, we have entered into agreements with certain financial institutions for commitments to provide us with
significant additional debt financing. Pursuant to the terms of these debt commitments, we currently expect to enter
into new $8.028 billion senior secured credit facilities to be used by us, among other ways, for purposes of the
consummation of the Share Repurchase, to refinance certain of our existing indebtedness and for general corporate
purposes. These new senior secured credit facilities will be guaranteed by certain of our direct and indirect U.S.
subsidiaries and secured by a pledge of the capital stock of certain of our subsidiaries. We have also secured
commitments from the same financial institutions for a $2.105 billion incremental term loan facility and a $2.1
billion senior unsecured bridge facility. We also may elect to issue $2.1 billion of senior notes or senior
subordinated notes in lieu of drawing under the $2.1 billion senior unsecured bridge facility. These additional
borrowings or issuances will in all cases be used by us, among other ways, in connection with the payment of the
merger consideration in connection with the consummation of the Merger.

     Our significantly increased debt level and related debt service obligations:

     •    will require us to dedicate greater amounts of our cash flow to the payment of principal and interest on our
          debt which will reduce the funds we have available for other purposes;

     •    will limit our liquidity and operational flexibility in changing economic, business and competitive
          conditions which could require us to consider deferring planned capital expenditures, reducing
          discretionary spending, selling additional assets or deferring acquisitions or other strategic opportunities;

     •    will impose on us additional financial and operational restrictions; and

     •    will expose us to increased interest rate risk because a substantial portion of our debt obligations will be at
          variable interest rates.

      Our ability to make scheduled payments on our debt and other financial obligations will depend on our future
financial and operating performance. Based on our current level of operations, we believe our cash flow from
operations, available cash and available borrowings under the new credit facilities described above will be adequate
to meet our liquidity needs for the foreseeable future. There can be no assurances, however, that our business will
generate sufficient cash flow from operations or that future borrowings will be available to us under these new credit
facilities in an amount sufficient to enable us to pay our indebtedness or to fund our other liquidity needs. Our
financial and operating performance is subject to prevailing economic and industry conditions and to financial,
business and other factors, some of which are beyond our control. Our increased leverage exposes us to significant
risk in the event of downturns in our businesses (whether through competitive pressures or otherwise), in our
industries or in the economy generally, because although our cash flows would decrease in this scenario, our
required payments in respect of indebtedness will not.

     In the future, we may need to refinance all or a portion of our indebtedness on or before maturity. There can be
no assurance that we will be able to refinance any of our indebtedness on commercially reasonable terms or at all.
In addition, if we do not comply with the financial and other restrictive covenants under our credit facilities, we may
default under them. Upon default, our lenders could accelerate the indebtedness under the facilities, foreclose
against their collateral or seek other remedies, which could jeopardize our ability to continue our current operations.

Continuing fragmentation in the media industry and increasing competition from alternative media sources may
adversely affect our revenue growth.

      Our publishing and broadcasting businesses continue to operate in an increasingly challenging market
environment. Advertising revenue remains the primary source of revenue for these businesses. Increasing
competition from alternative media, including other metropolitan, suburban and national newspapers, broadcasters,
cable systems and networks, satellite television and radio, websites, magazines, direct marketing and solo and shared
mail programs continues to affect our ability to retain advertising clients and raise advertising rates. Alternative
media sources also affect our ability to maintain or increase our circulation revenues in our publishing business and
our television viewing audience share in our broadcasting business. All of these factors continue to contribute to a
difficult sales environment and may further adversely impact our ability to grow our revenues.
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Consummation of the Leveraged ESOP Transactions will require regulatory approval from the FCC.

    In connection with the Leveraged ESOP Transactions, the parties to the Merger Agreement and the Zell Entity
Purchase Agreement are required to file applications with the FCC seeking consent to the transfer of control of the


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Company from its public stockholders to the ESOP, the Zell Entity and Samuel Zell. In connection with seeking
this consent to the transfer of control, the parties making the application will also request that the FCC:

     •     waive its rule prohibiting the common ownership of daily English language newspapers and broadcast
           stations (“the cross-ownership rule”) in the five markets where we own such combinations (with one
           waiver being necessary to continue a previously “grandfathered” newspaper-broadcast combination in
           the Chicago market following the consummation of a transfer of control);

     •     address the Company’s pending license renewal applications;

     •     grant a “failing station waiver” to permit the continued common ownership of the Company’s two
           television stations in Hartford, Connecticut; and

     •     grant a “satellite waiver” to permit the continued common ownership and operation of WTTK, Kokomo,
           Indiana, as a satellite station of WTTV, Indianapolis, Indiana.

     Because none of our cross-ownership waivers can be transferred under a transfer of control application, we are
required to seek new waivers in each of New York, Los Angeles, Chicago, Miami-Ft. Lauderdale and Hartford,
which are the five markets in which the Company has a cross-ownership. The FCC is continuing to review its
ownership rules, including the cross-ownership rule. In connection with this pending rulemaking, we anticipate that
certain parties may file petitions to deny or other objections with the FCC which will oppose the grant of cross-
ownership waivers to us in connection with our transfer of control application. The FCC may also grant a cross-
ownership waiver that could require us to come into compliance with the cross-ownership rule within a specified
time period, which might require us to divest either our newspaper or broadcast assets in one or more of the five
cross-ownership markets.

      The FCC also generally will not act on a transfer of control application for a broadcast station when a license
renewal application is pending for such station. While the FCC could accelerate the processing of the pending
renewal applications and act upon them at the same time it acts on the transfer of control applications, in the event
that it does not elect to do so, there is a possibility that these renewal applications could remain pending until after
the FCC completes its current rulemaking process.

     As described above, we must also obtain a new “failing station waiver” for our two broadcast stations in
Hartford and a new “satellite waiver” to permit the continued common ownership and operation of our two
broadcast stations in Indianapolis. While the Company has previously obtained these waivers from the FCC and
continues to believe that the relevant factors for purposes of granting such waivers continue to be satisfied, there can
be no assurance that the FCC will in fact grant these new waivers to the Company.


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                UNAUDITED PRO FORMA CONSOLIDATED FINANCIAL STATEMENTS

     The following unaudited pro forma condensed consolidated financial statements present the Company’s pro
forma consolidated financial position at December 31, 2006 and its pro forma consolidated results of operations for
the year then ended. These unaudited pro forma consolidated financial statements are derived from our historical
consolidated financial statements and give effect to the repurchase of shares of our common stock pursuant to the
Share Repurchase and the related refinancings of certain indebtedness of the Company, as if such repurchase and
refinancings had occurred at the beginning of fiscal year 2006 for purposes of the pro forma condensed consolidated
statement of income and as if such repurchase and refinancings had occurred at the end of fiscal year 2006 for
purposes of the pro forma condensed consolidated balance sheet. In addition, these unaudited pro forma condensed
consolidated financial statements give effect to the Purchase Agreements as if such agreements had been
consummated at the beginning of fiscal year 2006 for purposes of the pro forma condensed consolidated statement
of income and as if such agreements had been consummated at the end of fiscal year 2006 for purposes of the pro
forma condensed consolidated balance sheet.

      The unaudited pro forma condensed consolidated financial statements include adjustments directly attributable
to the Share Repurchase and related refinancings that are expected to have a continuing impact on the Company.
The unaudited pro forma condensed consolidated financial statements do not give effect to the consummation of the
Merger, the repayment of the exchangeable promissory note held by the Zell Entity, the issuance of a $225 million
subordinated promissory note or the Warrant because the consummation of such transactions is subject to the
satisfaction of certain conditions, including stockholder approval, FCC approval and the receipt of a solvency
opinion. The pro forma adjustments are described in the accompanying notes to the unaudited pro forma condensed
consolidated financial statements. We believe the assumptions used, and pro forma adjustments derived from such
assumptions, are reasonable based upon currently available information. However, such adjustments are subject to
change based on finalization of the Share Repurchase and related refinancings, and the Purchase Agreements. The
Share Repurchase is subject to a number of conditions, and there can be no assurance that the Share Repurchase will
be consummated or when such consummation might occur.

     These unaudited pro forma condensed consolidated financial statements should be read in conjunction with our
audited consolidated financial statements and the related notes filed as part of our Annual Report on Form 10-K for
the year ended December 31, 2006 which is incorporated herein by reference. These unaudited pro forma condensed
consolidated financial statements are not necessarily indicative of either our financial position or the results of
operations that actually would have been attained had the repurchase of shares of our common stock and related
refinancings, pursuant to the Share Repurchase, and consummation of the Purchase Agreements been completed at
the dates indicated, or that will be achieved in the future. These unaudited pro forma condensed consolidated
financial statements have been included herein for information and comparative purposes only. Our future results
are subject to prevailing economic and industry specific conditions and financial, business and other known and
unknown risks and uncertainties, certain of which are beyond our control. These factors include, without limitation,
those described in this prospectus under “Cautionary Note on Forward-Looking Statements.”


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Pro Forma Condensed Consolidated Statement of Income (Unaudited)
For the Year Ended December 31, 2006
(In thousands, except per share data)

                                                                                           Pro Forma
                                                                             Historical   Adjustments      Pro Forma

Operating Revenues                                                       $ 5,517,708 $            —        $ 5,517,708

Operating Expenses
 Cost of sales (exclusive of items shown below)                              2,736,411            —            2,736,411
 Selling, general and administrative                                         1,469,274            —            1,469,274
 Depreciation                                                                  207,200            —              207,200
 Amortization of intangible assets                                              19,813            —               19,813
 Total operating expenses                                                    4,432,698            —            4,432,698

Operating Profit                                                          1,085,010          —      1,085,010
  Net income on equity investments                                           80,773          —         80,773
  Interest and dividend income                                               14,145          —         14,145
  Interest expense                                                         (273,902 ) (481,885) (a) (755,787 )
  Gain on change in fair values of derivatives and related investments       11,088          —         11,088
  Gain on TMCT transactions                                                  59,596          —         59,596
  Gain on sales of investments, net                                          36,732          —         36,732
  Other non-operating loss, net                                              (4,447 )        —         (4,447 )
Income from Continuing Operations Before Income Taxes                     1,008,995    (481,885 )     527,110
  Income taxes                                                             (348,142 )   180,707 (b) (167,435 )
Income from Continuing Operations                                        $ 660,853 $ (301,178 ) $ 359,675

Earnings Per Share from Continuing Operations
  Basic                                                                  $         2.40                    $        2.39
  Diluted                                                                $         2.39                    $        2.31

Weighted-average Common Shares Outstanding
 Basic                                                                         272,672     (124,529) (c)        148,143
 Diluted                                                                       274,411     (118,647) (c)        155,764


    See “Notes to Unaudited Pro Forma Condensed Consolidated Financial Statements” beginning on page 11.


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Pro Forma Condensed Consolidated Balance Sheet (Unaudited)
As of December 31, 2006
(In thousands of dollars)
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                                                                                          Pro Forma
                                                                         Historical      Adjustments           Pro Forma
Assets

Current Assets
  Cash and cash equivalents                                          $     174,686 $              —        $      174,686
  Accounts receivable, net                                                 765,871                —               765,871
  Inventories                                                               40,962                —                40,962
  Broadcast rights                                                         271,995                —               271,995
  Deferred income taxes                                                     74,450                —                74,450
  Prepaid expenses and other                                                49,466                —                49,466
  Total current assets                                                   1,377,430                —             1,377,430

Properties
  Property, plant and equipment                                           3,592,477               —             3,592,477
  Accumulated depreciation                                               (1,907,365 )             —            (1,907,365 )
  Net properties                                                          1,685,112               —             1,685,112

Other Assets
  Broadcast rights                                                        295,186                 —         295,186
  Goodwill                                                              5,837,208                 —       5,837,208
  Other intangible assets, net                                          2,846,057                 —       2,846,057
  Time Warner stock related to PHONES debt                                348,480                 —         348,480
  Other investments                                                       564,750                 —         564,750
  Prepaid pension costs                                                   293,455                 —         293,455
  Assets held for sale                                                      9,172                 —           9,172
  Other                                                                   143,922            108,857 (d)    252,779
  Total other assets                                                   10,338,230            108,857     10,447,087
  Total assets                                                       $ 13,400,772 $          108,857 $ 13,509,629

Liabilities and Shareholders’ Equity

Current Liabilities
  Borrowings under bridge credit facility                            $ 1,310,000 $ (1,310,000) (e) $        —
  Other debt due within one year                                         119,007      (97,019) (e)      21,988
  Contracts payable for broadcast rights                                 317,945             —         317,945
  Deferred income                                                        108,607             —         108,607
  Accounts payable, accrued expenses and other current liabilities       691,155        (7,929) (d)    683,226
  Total current liabilities                                            2,546,714    (1,414,948 )     1,131,766

Long-Term Debt
  PHONES debt related to Time Warner stock                                 572,960                —               572,960
  Other long-term debt (less portions due within one year)               3,003,251         5,776,539 (e)        8,779,790
  Total long-term debt                                                   3,576,211         5,776,539            9,352,750

Other Non-Current Liabilities
  Deferred income taxes                                                  1,974,672                —             1,974,672
  Contracts payable for broadcast rights                                   425,927                —               425,927
  Compensation and other obligations                                       557,632                —               557,632
  Total other non-current liabilities                                    2,958,231                —             2,958,231

Shareholders’ Equity
  Common stock and additional paid-in capital                            6,837,029       (1,784,235) (g)        5,052,794
  Retained earnings                                                      3,138,313          (13,214) (d)          565,526
                                                                                            (54,288) (f)
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                                                                               (2,505,285) (g)
Treasury common stock (at cost)                                   (5,288,341 )     354,288 (f) (4,934,053 )
Unearned ESOP shares                                                      —      (250,000) (f)   (250,000 )
Accumulated other comprehensive income (loss)                       (367,385 )          —        (367,385 )
Total shareholders’ equity                                         4,319,616    (4,252,734 )       66,882
Total liabilities and shareholders’ equity                      $ 13,400,772 $     108,857 $ 13,509,629


  See “Notes to Unaudited Pro Forma Condensed Consolidated Financial Statements” beginning on page 11.


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Notes to Unaudited Pro Forma Condensed Consolidated Financial Statements

     On April 1, 2007, our Board, based on the recommendation of the Special Committee, approved the
Company’s entry into the Leveraged ESOP Transactions. In connection with the Leveraged ESOP Transactions, the
Company agreed to launch the Share Repurchase to repurchase up to 126,000,000 shares of our common stock that
are currently outstanding at a price of $34.00 per share. On April 1, 2007, the Company also entered into the Zell
Entity Purchase Agreement and the ESOP Purchase Agreement. The terms of these agreements included the
following:

    •    Pursuant to the ESOP Purchase Agreement, on April 1, 2007, the ESOP purchased from the Company
         8,928,571 shares of our common stock at a price of $28.00 per share. The ESOP paid for this purchase
         with a promissory note of the ESOP in favor of the Company in the principal amount of $250 million, to be
         repaid by the ESOP over the 30-year life of the loan through its use of annual contributions from the
         Company to the ESOP and/or distributions paid on the shares of our common stock held by the ESOP.

    •    Pursuant to the Zell Entity Purchase Agreement, on April 23, 2007, the Zell Entity made an initial
         investment of $250 million in the Company in exchange for (1) 1,470,588 shares of our common stock at
         $34.00 per share and (2) an unsecured subordinated exchangeable promissory note of the Company in the
         principal amount of $200 million. The promissory note is exchangeable at the Company’s option, or
         automatically upon termination of the Merger Agreement, into an aggregate of 5,882,353 shares of our
         common stock, subject to antidilution adjustments.

     To finance the Share Repurchase and to refinance indebtedness under its existing credit facilities, the Company
has secured financing commitments from certain lenders.

     The unaudited pro forma condensed consolidated statement of income does not reflect material non-recurring
charges, which we anticipate will affect income from continuing operations within 12 months following the Share
Repurchase and related refinancings. The most significant of these charges are costs related to the extinguishment of
the Company’s existing term facility and bridge credit facility. We currently estimate that the income statement
charges related to the extinguishment will be approximately $9 million after-tax. The unaudited pro forma
condensed consolidated balance sheet reflects the impact of these non-recurring charges.

     The pro forma adjustments for the Share Repurchase and related refinancings, and the Purchase Agreements
are described below.

(a) The pro forma interest expense adjustment assumes the issuance of approximately $7.1 billion of new variable
    rate debt to finance the Share Repurchase and to refinance the Company’s existing term facility, existing bridge
    credit facility, and outstanding commercial paper. A rate of 7.86%, based on LIBOR (at April 19, 2007) plus a
    spread of 2.5%, has been used to compute pro forma interest expense on the new borrowings. The pro forma
    interest expense adjustment is net of the historical interest expense on the Company’s term facility, bridge credit
    facility and commercial paper that were assumed to be refinanced and includes the amortization of estimated
    debt issuance costs of $130 million using an average life of seven years. A one-eighth percentage point change
    in the assumed interest rate on the new borrowings would increase or decrease pro forma interest expense by
    approximately $9 million.

    In addition, the pro forma interest expense adjustment also includes interest on the $200 million subordinated
    exchangeable promissory note assumed to be issued in connection with the Zell Entity Purchase Agreement. A
    rate of 4.81%, based on the rate specified in the Zell Entity Purchase Agreement, has been used to compute
    interest expense on the promissory note.
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    The following table summarizes the pro forma interest expense adjustment.

Pro forma interest expense adjustment ($ in millions)
New variable rate debt                                                     $ 556
$200 million promissory note                                                  10
Amortization of debt issuance costs                                           19
Less: existing term facility                                                 (54 )
Less: existing bridge credit facility                                        (44 )
Less: existing commercial paper                                               (5 )
Interest expense adjustment                                                $ 482


(b) Reflects the income tax effect of the pro forma interest expense adjustment utilizing the applicable statutory tax
    rate for the year ended December 31, 2006.

(c) The pro forma adjustment to basic weighted-average common shares outstanding reflects the repurchase of
    126,000,000 shares of our common stock and the issuance of 1,470,588 shares of our common stock as of the
    beginning of fiscal year 2006


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    in connection with the Zell Entity Purchase Agreement. The pro forma adjustment to diluted weighted-average
    common shares outstanding also reflects the assumed conversion of the $200 million subordinated
    exchangeable promissory note into 5,882,353 of our common stock as of the beginning of fiscal year 2006.

(d) Reflects $130 million of debt issuance costs in connection with the new borrowings and the write-off of $21
    million of debt issuance costs ($13 million after-tax) as a result of the extinguishment of the term facility and
    bridge credit facility.

(e) To record the issuance of the new borrowings and the refinancing of the existing term facility, existing bridge
    credit facility and $97 million of the Company’s outstanding commercial paper.

(f) To record the issuance of shares of our common stock to the ESOP and the Zell Entity in connection with the
    Purchase Agreements. The shares were assumed to have been issued from our existing treasury common stock
    at the average value of $34.07 per share.

(g) To record the repurchase and subsequent retirement of 126,000,000 shares of our common stock at $34.00 per
    share in connection with the Share Repurchase, including $5.5 million of related transaction costs.

                                                USE OF PROCEEDS

     We will not receive any proceeds from the resale of our common stock under this offering. All proceeds from
the sale of our common stock pursuant to this prospectus will be for the account of the selling stockholders.

                                      DESCRIPTION OF CAPITAL STOCK

     The following description of certain terms of our capital stock is not meant to be complete and is qualified by
reference to our amended and restated certificate of incorporation, our bylaws and the Delaware General
Corporation Law. Copies of our amended and restated certificate of incorporation and bylaws are incorporated by
reference herein.

Authorized Capital Stock

    Our amended and restated certificate of incorporation authorizes us to issue up to 1,400,000,000 shares of
common stock, par value $0.01 per share, and 12,000,000 shares of preferred stock, without par value, of which
6,000,000 shares are designated as series A junior participating preferred stock, without par value, and 137,643
shares are designated as series D-1 preferred stock, without par value. As of February 16, 2007, there were
240,197,343 shares of our common stock outstanding, excluding 60,683,388 shares held by subsidiaries of the
Company. As of the same date, none of the series A junior participating preferred stock was issued or outstanding,
and all 137,643 shares of authorized series D-1 preferred stock were held by an affiliate of the Company.

Common Stock

    Dividend Rights. Holders of our common stock are entitled to receive dividends as declared by the Board.
However, no dividend may be declared or paid on our common stock until we have paid (or declared and set aside
funds for payment of) all dividends which have accrued on all classes of our preferred stock.

    Voting Rights.

         •   Holders of our common stock are entitled to one vote per share.

         •   Article SIXTH of our amended and restated certificate of incorporation governing votes with respect to
             certain change of control transactions (described below) may be amended only by the affirmative vote
             of the holders of at least 66 2/3% of the outstanding capital stock of the Company entitled to vote
             thereon.
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•   Our bylaws may be made, altered, amended and repealed by the stockholders, but only by the
    affirmative vote of the holders of 80% of the outstanding stock of the Company entitled to vote.


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         •   Any action required or permitted to be taken at any annual or special meeting of stockholders of the
             Company may be taken without a meeting only if a consent in writing setting forth the action so taken
             shall be signed by all stockholders entitled to vote with respect to the subject matter thereof.

         •   The affirmative vote of 80% of the outstanding stock of the Company entitled to vote is required to
             amend or repeal the provisions set forth in the two preceding bullet points.

     Classified Board. The Board currently consists of eleven members and is divided into three classes. Directors
for each class are elected at the annual meeting held in the year in which the term for their class expires.

     Liquidation Rights. In the event of any liquidation, dissolution or winding up of the Company, after payments
to holders of our preferred stock of amounts determined by the Board plus any accrued dividends, the Company’s
remaining assets will be divided among holders of our common stock.

     Preemptive or Other Subscription Rights. Holders of our common stock do not have any preemptive right to
subscribe to any additional issue or sale of the capital stock of the Company or to acquire any security convertible
into capital stock of the Company.

    Conversion, Redemption, Sinking Fund and Other Rights. No conversion, redemption or sinking fund
provisions apply to our common stock, and our common stock is not liable to further call or assessment by the
Company. All issued and outstanding shares of our common stock are fully paid and non-assessable.

    Restrictions on Alienability. There are no restrictions on the alienability of our common stock.

     Change in Control. A merger or consolidation to which the Company is a party but not the surviving party, or a
sale, lease or exchange to any person, firm or corporation of all or substantially all of the assets of the Company,
may be made upon such terms and conditions and for such consideration as the Board shall approve and deem
appropriate, when and as authorized by the affirmative vote of the holders of at least 66 2/3% of the outstanding
capital stock of the Company entitled to vote thereon, or such greater percentage of such stock as may be required
by other applicable provisions of the amended and restated certificate of incorporation, taken at an annual or special
meeting of the Company’s stockholders.

    Interested Party Transactions. None of the following transactions may be effectuated unless a meeting of the
Company’s stockholders is held to act thereon and voting securities representing at least 80% of the votes entitled to
be cast are cast in favor thereof:

         •   an acquisition by us of stock of an interested party (defined below);

         •   a sale, lease or exchange of all or the major portion of the assets of the Company or an interested party
             to the other;

         •   a merger or consolidation to which the Company and an interested party are parties; or

         •   an amendment or repeal of the provision governing interested party transactions.

   An “interested party” means any person, firm or corporation, or any group thereof acting in concert, which
owns of record or beneficially, directly or indirectly, more than 10% of any class of stock of the Company.

   Transfer Agent and Registrar. The principal transfer agent and registrar for our common stock is
Computershare Trust Company, N.A.

Series A Junior Participating Preferred Stock

    We adopted a stockholder rights plan pursuant to a rights agreement with Computershare Trust Company, N.A.
(formerly known as EquiServe Trust Company, N.A., formerly known as First Chicago Trust Company of New
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York), as rights agent, dated as of December 12, 1997, as amended by Amendment No. 1 dated June 12, 2000,
Amendment No. 2 dated September 21, 2006 and Amendment No. 3 dated April 1, 2007. Set forth below is a
summary of the material provisions of the rights agreement. The summary does not include a complete description
of all of the terms of the rights


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agreement. All our stockholders are urged to read carefully the relevant provisions of the rights agreement and the
amendments thereto, copies of which are incorporated by reference herein.

     Exercisability of Rights. Under the rights agreement, one right attaches to each share of our common stock
outstanding and, when exercisable, entitles the registered holder to purchase from us one two-hundredth of a share
of series A junior participating preferred stock at a purchase price of $125, subject to customary anti-dilution
adjustments.

    The rights will not become exercisable until the earlier of:

         •    ten days following a public announcement that a person (other than the Robert R. McCormick Tribune
              Foundation or the Cantigny Foundation or any successor charitable entities, collectively referred to as
              the foundations) has become the beneficial owner of 10% or more of our common stock then
              outstanding; or

         •    ten business days, or such later date as may be determined by the Board, following the commencement
              of, or the announcement of an intention to commence, a tender offer or exchange offer that would
              result in a person becoming the beneficial owner of 10% or more of our common stock then
              outstanding.

     “Flip In” Feature. In the event a person (other than the foundations) becomes the beneficial owner of 10% or
more of our common stock outstanding, each holder of a right, except for that person, will have the right to acquire,
upon exercise of the right, instead of one two-hundredth of a share of series A junior participating preferred stock,
shares of our common stock having a value equal to twice the exercise price of the right. For example, if we assume
that the purchase price of $125 is in effect on the date that the flip-in feature of the rights is exercised, any holder of
a right, except for the person (other than the foundations) that has become the beneficial owner of 10% or more of
our common stock then outstanding, may exercise his or her right by paying to us $125 in order to receive from us
shares of our common stock having a value equal to $250.

     “Exchange” Feature. At any time after a person (other than the foundations) becomes the beneficial owner of
10% or more, but less than 50%, of our common stock then outstanding, the Board may, at its option, exchange all
or some of the rights, except for those held by such person, for our common stock at an exchange ratio of one share
of our common stock or one two-hundredth of a share of series A junior participating preferred stock for each right,
subject to adjustment.

    “Flip Over” Feature. In the event that, after a person acquires 10% or more of our common stock:

         •    The Company is acquired in a merger or other business combination transaction; or

         •    50% or more of its consolidated assets or earning power is sold,

then each holder of a right, except for a person (other than the foundations) that is the beneficial owner of 10% or
more of our common stock then outstanding, will have the right to receive, upon exercise of the right, the number of
shares of the acquiring company’s common stock having a value equal to twice the exercise price of the right.

    Redemption of Rights. At any time prior to the acquisition by a person (other than the foundations) of beneficial
ownership of 10% or more of our common stock then outstanding, the Board may redeem all of the rights at a
redemption price of $0.005 per right, subject to adjustment. The right to exercise the rights will terminate upon
redemption and, at that time, the holders of the rights will have the right to receive only the redemption price for
each right they hold.

     Amendment of Rights. At any time before a person (other than the foundations) becomes the beneficial owner
of 10% or more of our common stock then outstanding, the terms of the existing rights agreement may be amended
by the Board without the approval of the holders of the rights. However, after the date any person (other than the
foundations) acquires at least 10% of our outstanding common stock, the rights agreement may not be amended in
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any manner that would adversely affect the interests of the holders of the rights, excluding the interests of the
acquiror.

    Termination of Rights. If not previously exercised, the rights will expire on January 5, 2008, unless we earlier
redeem or exchange the rights or extend the expiration date.

    Anti-Takeover Effects. The rights have anti-takeover effects. Once the rights have become exercisable, in most
cases the rights will cause substantial dilution to a person that attempts to acquire or merge with the Company.
Accordingly, the


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existence of the rights may deter potential acquirors from making a takeover proposal or a tender offer. The rights
should not interfere with any merger or other business combination approved by the Board because we may redeem
the rights and because the Board can amend the rights agreement so that a transaction approved by the Board would
not cause the rights to become exercisable.

     In connection with the Leveraged ESOP Transactions, the Board adopted an amendment to the rights agreement
to clarify that no person shall be deemed to be an “Acquiring Person” (as defined in the rights agreement) solely by
virtue of the execution, delivery or performance of the Merger Agreement, the Zell Entity Purchase Agreement, the
ESOP Purchase Agreement and the other agreements contemplated by the foregoing or necessary to implement the
Leveraged ESOP Transactions. The rights will therefore not become exercisable in connection with the
consummation of the Leveraged ESOP Transactions.

     Series A Junior Participating Preferred Stock. In connection with the rights, the Board has authorized the
issuance of 6,000,000 shares of preferred stock designated as series A junior participating preferred stock. We
designed the dividend, liquidation, voting and redemption features of the series A junior participating preferred
stock so that the value of one two-hundredth of a share of series A junior participating preferred stock approximates
the value of one share of our common stock. Shares of series A junior participating preferred stock may only be
purchased after the rights have become exercisable. The rights of the series A junior participating preferred stock as
to dividends, liquidation and voting, and in the event of mergers or consolidations, are protected by customary anti-
dilution provisions.

Series D-1 Preferred Stock

     The series D-1 certificate of designation designates 380,972 shares of series D-1 preferred stock, without par
value. As of December 31, 2006, 137,643 shares remained authorized and all such shares were held by an affiliate
of the Company.

     Dividend Rights. Each share of series D-1 preferred stock pays a cumulative dividend, payable quarterly in
arrears, with increases based on a fixed and certain schedule. For 2007, the dividend is 7.15% per annum.

    Voting Rights. The series D-1 preferred stock generally has no voting rights, other than certain voting rights in
connection with extraordinary circumstances.

   Liquidation Rights. Each share of series D-1 preferred stock has a liquidation value of $500 per share, plus an
amount equal to all accrued and unpaid dividends.

     Preemptive or Other Subscription Rights. Holders of series D-1 preferred stock do not have any preemptive
right to subscribe to any additional issue or sale of the capital stock of the Company or to acquire any security
convertible into capital stock of the Company.

    Conversion, Redemption, Sinking Fund and Other Rights. Shares of the series D-1 preferred stock are
convertible into our common stock in 2025 at the earliest. The conversion factor is calculated by dividing $500 plus
accrued and unpaid dividends by the average closing prices of our common stock for the 20 trading days
immediately preceding the conversion date. No redemption or sinking fund provisions apply to any of the series D-1
preferred stock, and such stock is not liable to further call or assessment by the Company. All issued and outstanding
shares of series D-1 preferred stock are fully paid and non-assessable.

    Restrictions on Alienability. There are no restrictions on the alienability of the series D-1 preferred stock.


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                                             SELLING STOCKHOLDERS

     The Chandler Trusts (together with their trustees, the “selling stockholders”) acquired the shares of common
stock offered by this prospectus from us in connection with our acquisition of The Times Mirror Company in 2000,
in connection with the restructuring in September 2006 of TMCT, LLC (“TMCT”) and TMCT II, LLC (“TMCT II”)
or upon exercise of stock options. See “—Material Relationships with the Selling Stockholders” below.

     The selling stockholders may from time to time offer and sell any or all of the shares of our common stock set
forth below pursuant to this prospectus. When we refer to “selling stockholders” in this prospectus, we mean the
selling stockholders listed in the table below and any other person named as a “selling stockholder” in any
prospectus supplement.

     Pursuant to the terms of the registration rights agreement described below, each permitted transferee of the
selling stockholders may sell any of the shares of our common stock set forth below pursuant to this prospectus.
After the selling stockholders provide notice of any permitted transferee, we will file a prospectus supplement
naming such permitted transferee as a selling stockholder and specifying the amounts of shares registered on its
behalf.

     The table below sets forth, as of the date of this prospectus, the name of the selling stockholders for whom we
are registering shares for resale to the public, and the number of shares of common stock that the selling
stockholders may offer pursuant to this prospectus. The information contained in the table is known to us, based
upon written representations from the selling stockholders, with respect to the beneficial ownership of our shares of
common stock held by the selling stockholders as of April 1, 2007. The selling stockholders may from time to time
offer and sell any or all of the shares of our common stock set forth below pursuant to this prospectus. No
assurances can be given as to the actual number of shares that will be sold because the selling stockholders, subject
to their sole discretion, may offer from time to time all, some or none of their shares under this prospectus.

                                                            Beneficial Ownership                         Beneficial Ownership
                                                            Prior to this Offering        Total Number   After this Offering (1)
                                                               Common Stock                 of Shares       Common Stock
                                                         Number           Percentage of       Being             Number
              Name of Selling Stockholders               of Shares          Class (2)      Registered          of Shares
The Chandler Trusts (3)
350 West Colorado Boulevard, Suite 230
Pasadena, CA 91105                                      48,753,788              20.25 % 48,753,788                            0
Jeffrey Chandler                                            30,387 (4)              *       30,387                            0
Camilla Chandler Frost                                     427,662 (5)              *      427,662                            0
Roger Goodan                                                62,446 (6)              *       62,446                            0
William Stinehart, Jr.                                      44,350 (7)              *       44,350                            0
Warren B. Williamson                                        62,602 (8)              *       62,602                            0

*    Represents less than 1% of the common stock outstanding.

     (1) Assumes that the selling stockholders will resell all of the shares of our common stock being registered
         hereunder.

     (2) For purposes of this table, information as to the percentage of shares beneficially owned is calculated
         based on 240,573,299 shares of our common stock outstanding as of April 1, 2007, excluding 60,671,319
         shares of our common stock held by our subsidiaries and affiliates and 8,928,571 shares of our common
         stock held by the ESOP.

     (3) The amount of shares listed consists of 22,881,590 shares with respect to which the trustees of Chandler
         Trust No. 1 share voting and investment power, 25,244,751 shares with respect to which the trustees of
         Chandler Trust No. 2 share voting and investment power, and 627,447 shares beneficially owned by
         certain trustees in their individual capacities, as follows: Jeffrey Chandler, 30,387 shares; Camilla
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    Chandler Frost, 427,662 shares; Roger Goodan, 62,446 shares; William Stinehart, Jr., 44,350 shares; and
    Warren B. Williamson, 62,602 shares.

(4) This amount includes 11,187 shares, and 19,200 options exercisable within 60 days of the date hereof and
    does not include 22,881,590 shares owned by Chandler Trust No. 1 and 25,244,751 shares owned by
    Chandler Trust No. 2 (see (3) above).


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     (5) This amount does not include 22,881,590 shares owned by Chandler Trust No. 1 and 25,244,751 shares
         owned by Chandler Trust No. 2 (see (3) above).

     (6) This amount includes 17,246 shares, and 45,200 options exercisable within 60 days of the date hereof and
         does not include 22,881,590 shares owned by Chandler Trust No. 1 and 25,244,751 shares owned by
         Chandler Trust No. 2 (see (3) above).

     (7) This amount includes 12,650 shares, and 31,700 options exercisable within 60 days of the date hereof and
         does not include 22,881,590 shares owned by Chandler Trust No. 1 and 25,244,751 shares owned by
         Chandler Trust No. 2 (see (3) above).

     (8) This amount includes 25,102 shares, and 37,500 options exercisable within 60 days of the date hereof and
         does not include 22,881,590 shares owned by Chandler Trust No. 1 and 25,244,751 shares owned by
         Chandler Trust No. 2 (see (3) above).

Material Relationships with the Selling Stockholders

      On April 1, 2007, the Company entered into a registration rights agreement with the Chandler Trusts (the
“Chandler Trusts Registration Rights Agreement”) pursuant to which the Company granted to the Chandler Trusts
certain shelf registration rights for the registration and sale of shares of our common stock that the Chandler Trusts
currently own. This prospectus is part of an automatic shelf registration statement on Form S-3 that we filed with the
SEC for the sale of such shares. We have agreed to pay all expenses relating to this registration, except the
underwriting discounts, commissions and transfer taxes, if any, relating to the sale of these shares of our common stock
by the Chandler Trusts, and any fees and expenses of outside counsel for the Chandler Trusts. Pursuant to the terms of
the Chandler Trusts Registration Rights Agreement, the Chandler Trusts have agreed to tender in the Share Repurchase
all shares of our common stock held by them at the expiration of the Share Repurchase, so long as the price paid by the
Company is no less than $34.00 per share. The Chandler Trusts have also agreed that they will not sell or offer to sell
shares or otherwise act as a distribution participant (as defined in Regulation M (“Regulation M”) under the Securities
Exchange Act of 1934, as amended (the “Exchange Act”)) pursuant to the shelf registration prior to consummation or
termination of the Share Repurchase, unless counsel for the Company and the Chandler Trusts reasonably agree that
such actions would not cause the Share Repurchase or purchases pursuant to the Share Repurchase to violate
Regulation M. These shelf registration rights will terminate no later than November 22, 2007, and may terminate
earlier under certain circumstances. The foregoing description of the Chandler Trusts Registration Rights Agreement is
qualified in its entirety by reference to the complete terms and conditions of the Chandler Trusts Registration Rights
Agreement, which was filed as Exhibit 4.2 to our Current Report on Form 8-K filed with the SEC on April 5, 2007.

     On April 1, 2007, the Company also entered into a Voting Agreement (the “Voting Agreement”) with the
Chandler Trusts, pursuant to which the Chandler Trusts have committed to vote in favor of the Merger Agreement all
of the shares of our common stock that they beneficially own on the record date for the Merger vote, whether or not
recommended by the Board, and, among other things, against any competing transaction, against any other agreement
or action that is intended or would reasonably be expected to prevent, impede, or, in any material respect, interfere
with, delay, postpone or discourage the transactions contemplated by the Merger Agreement, and against any action,
agreement, transaction or proposal that would result in a breach of any representation, warranty, covenant, agreement
or other obligation of the Company in the Merger Agreement or any of the Purchase Agreements.

     The Chandler Trusts have also agreed to certain restrictions, subject to certain exceptions, on their ability to,
among other things, (1) solicit inquiries with respect to a competing transaction, (2) participate in discussions or
negotiations with, or furnish nonpublic information to, any person with respect to a competing transaction or (3)
approve, endorse or recommend a competing transaction or enter into any letter of intent or agreement with respect to a
competing transaction. The foregoing description of the Voting Agreement is qualified in its entirety by reference to
the complete terms and conditions of the Voting Agreement, which was filed as Exhibit 10.13 to our Current Report on
Form 8-K filed with the SEC on April 5, 2007.

    Three members of our Board, Jeffrey Chandler, Roger Goodan and William Stinehart, Jr., are trustees of the
Chandler Trusts. Mr. Chandler and Mr. Goodan are also beneficiaries of these trusts. The Chandler Trusts were the
principal shareholders of The Times Mirror Company (“Times Mirror”) prior to the merger of Times Mirror into the
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Company on June 12, 2000. In connection with the merger, the Chandler Trusts exchanged their Times Mirror
common stock for 36,304,135 shares of our common stock and we amended our bylaws to grant the Chandler Trusts
the right to nominate three directors, one for each class of the Board. The Chandler Trusts’ nominating rights will
end on the earlier of the termination of the trusts or the sale of 15% or more of the shares of our common stock they
received at the time of the merger (the “Article VIII Termination Date”). As long as the Chandler Trusts have these
rights, neither the Board nor any Board committee may nominate any person in opposition to the three Chandler
Trust nominees. Jeffrey Chandler, Roger Goodan and William Stinehart, Jr. were the Chandler Trusts’ initial
nominees and became directors of Tribune following the merger. Mr. Chandler and Mr. Goodan are cousins.

     Messrs. Chandler, Goodan and Stinehart have served as directors of Tribune since 2000. The Chandler Trusts
have agreed in the Chandler Trusts Registration Rights Agreement to cause Messrs. Chandler, Goodan and Stinehart
to resign as directors of the Company, effective upon the purchase of shares of our common stock in the Share
Repurchase or, if earlier,


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upon the Article VIII Termination Date. None of the other trustees of the Chandler Trusts has any material
relationship with us.

     In 1997, the Chandler Trusts and Times Mirror entered into a transaction which, through the formation of
TMCT, enabled Times Mirror to retire for accounting purposes a substantial block of Times Mirror stock. Times
Mirror and its affiliates contributed to TMCT real property used in Times Mirror’s business operations and cash and
the Chandler Trusts contributed Times Mirror stock. Times Mirror leased back the real property under long-term
leases. Upon completion of the merger of Times Mirror into the Company, we assumed these leases and the Times
Mirror stock held by the limited liability company was converted into Tribune stock. In 2006, $20,300,792 of lease
payments and $4,005,936 in dividends received on the Tribune stock held by TMCT were allocated to the Chandler
Trusts.

     In 1999, the Chandler Trusts and Times Mirror formed TMCT II and entered into a similar transaction that
again enabled Times Mirror to retire for accounting purposes a substantial block of stock. Times Mirror’s
contribution to TMCT II consisted of cash and securities. The Chandler Trusts again contributed Times Mirror stock
that was converted into Tribune stock upon completion of the merger of Times Mirror into the Company. In 2006,
$7,440,746 in dividends received on the Tribune stock held by TMCT II were allocated to the Chandler Trusts.

     On September 21, 2006, we entered into agreements with the Chandler Trusts to restructure TMCT and
TMCT II. Under the terms of the agreements, we received on September 22, 2006, a total of 38.9 million shares of
our common stock and all 1.1 million shares of our preferred stock held collectively by TMCT and TMCT II.
Following the distributions by TMCT and TMCT II, our interests in each of TMCT and TMCT II were reduced to
approximately five percent. The agreements also provided for certain put and call options, which are exercisable at
fair market value beginning in September 2007, relating to our remaining ownership interests in TMCT and
TMCT II.

    In addition, on September 22, 2006, the Company and TMCT amended the lease agreement for the eight
properties the Company leases from TMCT. Under the terms of the amended lease, the Company was granted an
accelerated option to acquire the eight properties during the month of January 2008 for $175 million. The Company
was also granted an option to acquire the leased properties from February 8, 2008 to three months prior to the
expiration of the amended lease at the higher of fair market value or $195 million. In addition, the amendment
extended the properties’ current fixed rental rate through August 7, 2021.

    On October 20, 2006, the remaining 12.4 million shares of our common stock held by TMCT and TMCT II
were distributed to the Company and the Chandler Trusts in accordance with their respective ownership interests.
The Company received 0.6 million shares and the Chandler Trusts received 11.8 million shares. Pursuant to the
terms of the Voting Agreement, the Company agreed to waive the voting restrictions set forth in (i) the Distribution
Agreement, dated September 21, 2006, among the Company, TMCT, Candle Holdings Corporation, Fortify
Holdings Corporation and the Chandler Trusts and (ii) the Distribution Agreement, dated September 21, 2006,
among the Company, TMCT II, Fortification Holdings Corporation, Wick Holdings Corporation, Eagle New Media
Investments, LLC, Eagle Publishing Investments, LLC and the Chandler Trusts, which required the trustees of the
Chandler Trusts to vote the 11.8 million shares received in the distribution in the same proportion as all other shares
were voted on any matter requiring a stockholder vote, including the proposals to be voted on at the 2007 annual
meeting of stockholders. Information pertaining to the Company’s investments in TMCT and TMCT II is provided
in Note 7 to the consolidated financial statements included in our Annual Report on Form 10-K for the fiscal year
ended December 31, 2006.

                                            PLAN OF DISTRIBUTION

    As used in this prospectus, “selling stockholders” includes the selling stockholders named above and their
permitted transferees pursuant to the terms of the Chandler Trusts Registration Rights Agreement. We have been
advised that the selling stockholders may effect sales of shares of our common stock directly, or indirectly by or
through underwriters, agents or broker-dealers, and that the shares of our common stock may be sold, at any time, or
from time to time, by one or a combination of several of the following methods:
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•   on any national securities exchange or U.S. inter-dealer system of a registered national securities
    association on which the shares of our common stock may be listed or quoted at the time of the sale;

•   purchases by underwriters, dealers and agents who may receive compensation in the form of
    underwriting discounts, concessions or commissions from the selling stockholders and/or the purchasers
    of the shares for whom they may act as agent;


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     •     one or more block transactions, including transactions in which the broker or dealer so engaged will
           attempt to sell the shares of our common stock as agent but may position and resell a portion of the block
           as principal to facilitate the transaction, or in crosses, in which the same broker acts as an agent on both
           sides of the trade;

     •     ordinary brokerage transactions or transactions in which a broker solicits purchases;

     •     purchases by a broker-dealer or market maker, as principal, and resale by the broker-dealer for its
           account under this prospectus;

     •     the pledge of shares as security for any loan or obligation, including pledges to brokers or dealers who
           may from time to time effect distributions of the shares or other interests in the shares;

     •     short sales or transactions to cover short sales relating to the shares;

     •     privately negotiated transactions;

     •     the writing of put or call options, whether the options are listed on an options exchange or otherwise;

     •     distributions to creditors and equity holders of the selling stockholders; and

     •     any combination of the foregoing, or any other available means allowable under applicable law.

     The selling stockholders will act independently of us in making decisions with respect to the timing, manner,
and size of each sale. The aggregate proceeds to the selling stockholders from the sale of our common stock offered
by them will be the purchase price of the common stock less discounts and commissions, if any. The selling
stockholders reserve the right to accept and, together with their agents from time to time, to reject, in whole or in
part, any proposed purchase of shares of common stock to be made directly or through agents. We will not receive
any of the proceeds from the sale by the selling stockholders of the shares of our common stock.

     Subject to the terms of the Chandler Trusts Registration Rights Agreement, the selling stockholders may sell the
shares covered by this prospectus from time to time, and may also decide not to sell all or any of the shares they are
allowed to sell under this prospectus. The selling stockholders will act independently of us in making decisions
regarding the timing, manner and size of each sale. The selling stockholders may effect sales by selling the shares
directly to purchasers in individually negotiated transactions, or to or through broker-dealers, which may act as
agents or principals. The selling stockholders may sell their shares at fixed prices, at market prices prevailing at the
time of sale, at prices related to such prevailing market prices, at varying prices determined at the time of sale, or at
privately negotiated prices.

     Additionally, the selling stockholders may engage in hedging transactions with broker-dealers in connection
with distributions of shares or otherwise. In those transactions, broker-dealers may engage in short sales of shares in
the course of hedging the positions they assume with the selling stockholders. The selling stockholders also may sell
shares short and redeliver shares to close out such short positions. The selling stockholders may also enter into
option or other transactions with broker-dealers which require the delivery of shares to the broker-dealer. The
broker-dealer may then resell or otherwise transfer such shares pursuant to this prospectus. The selling stockholders
also may loan or pledge shares, and the borrower or pledgee may sell or otherwise transfer the shares so loaned or
pledged pursuant to this prospectus. Such borrower or pledgee also may transfer those shares to investors in our
securities or the selling stockholders’ securities or in connection with the offering of other securities not covered by
this prospectus.

     From time to time, the selling stockholders may transfer, pledge, donate, grant a security interest in or assign
their shares of our common stock to lenders or others and, to the extent such stockholders constitute permitted
transferees under the Chandler Trusts Registration Rights Agreement, each of such persons will be deemed to be
“selling stockholders” for purposes of this prospectus. The number of shares of our common stock beneficially
owned by the selling stockholders will decrease as, when and to the extent it takes such actions. The plan of
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distribution for the selling stockholders’ shares of our common stock sold under this prospectus will otherwise
remain unchanged, except that the transferees, pledgees, donees, secured parties, or other successors will be a selling
stockholder hereunder. Any donee, pledgee, transferee, secured parties, or other successors that intends to offer or
sell shares through this prospectus will be named in a prospectus supplement, if required.


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     The selling stockholders may enter into sale, forward sale and derivative transactions with third parties, or sell
securities not covered by this prospectus to third parties in privately negotiated transactions. If the applicable
prospectus supplement indicates, in connection with those sale, forward sale or derivative transactions, the third
parties may sell securities covered by this prospectus and the applicable prospectus supplement, including in short
sale transactions and by issuing securities that are not covered by this prospectus but are exchangeable for or
represent beneficial interests in our common stock. If so, the third party may use shares received under those sale,
forward sale or derivative arrangements or shares pledged by the selling stockholders or borrowed from the selling
stockholders or others to settle such third party sales or to close out any related open borrowings of stock. The third
parties may deliver this prospectus in connection with any such transactions. The third party in such sale
transactions will be an underwriter and, if not identified in this prospectus, will be identified in the applicable
prospectus supplement (or a post-effective amendment).

     Underwriters, broker-dealers or agents may receive compensation in the form of commissions, discounts or
concessions from the selling stockholders. Underwriters, broker-dealers or agents may also receive compensation
from the purchasers of shares for whom they act as agents or to whom they sell as principals, or both. Compensation
as to a particular underwriter, broker-dealer or agent might be in excess of customary commissions and will be in
amounts to be negotiated in connection with transactions involving shares. In effecting sales, broker-dealers engaged
by the selling stockholders may arrange for other broker-dealers to participate in the resales.

     In connection with sales of our common stock covered hereby, the selling stockholders and any broker-dealers
or agents and any other participating broker-dealers who execute sales for the selling stockholders may be deemed to
be “underwriters” within the meaning of the Securities Act of 1933, as amended (the “Securities Act”). Accordingly,
any profits realized by the selling stockholders and any compensation earned by such broker-dealers or agents may
be deemed to be underwriting discounts and commissions. Because the selling stockholders may be deemed to be
“underwriters” within the meaning of Section 2(11) of the Securities Act, the selling stockholders will be subject to
the prospectus delivery requirements of that act. At the request of the selling stockholders, we will make copies of
this prospectus (as it may be amended or supplemented from time to time) available to the selling stockholders for
the purpose of satisfying the prospectus delivery requirements. In addition, any shares of the selling stockholders
covered by this prospectus which qualify for sale pursuant to Rule 144 or Rule 144A under the Securities Act may
be sold in open market transactions under Rule 144 or Rule 144A rather than pursuant to this prospectus.

     Under applicable rules and regulations under the Exchange Act, any person engaged in the distribution of the
shares may not simultaneously engage in market making activities with respect of our common stock for a period of
two business days prior to the commencement of the distribution. In addition, the selling stockholders will be subject
to applicable provisions of the Exchange Act and the associated rules and regulations under the Exchange Act,
including Regulation M, which provisions may limit the timing of purchases and sales of shares of our common
stock by the selling stockholders. These restrictions may affect the marketability of such shares. At the request of the
selling stockholders, we will make copies of this prospectus available to the selling stockholders if there is a need to
deliver copies of this prospectus to purchasers at or prior to the time of any sale of the shares.

    In order to comply with applicable securities laws of some states, the shares may be sold in those jurisdictions
only through registered or licensed brokers or dealers. In addition, in certain states the shares may not be sold unless
they have been registered or qualified for sale in the applicable state or an exemption from the registration or
qualification requirements is available.

     If underwriters are used in a firm commitment underwriting, we and the selling stockholders will execute an
underwriting agreement with those underwriters relating to the shares of our common stock that the selling
stockholders will offer. Unless otherwise set forth in a prospectus supplement, the obligations of the underwriters to
purchase these shares of our common stock will be subject to conditions. The underwriters will purchase the shares
on a firm commitment basis and will be obligated to purchase all of the shares if any are purchased. The shares of
our common stock subject to any such underwriting agreement will be acquired by the underwriters for their own
account and may be resold by them from time to time in one or more transactions, including negotiated transactions,
at a fixed public offering price or at varying prices determined at the time of sale. The underwriters may be deemed
to have received compensation from the selling stockholders in the form of underwriting discounts or commissions
and may also receive commissions from the purchasers of these shares for whom they may act as agent. The selling
stockholders may authorize underwriters to solicit offers by institutions to purchase the shares of our common stock
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subject to the underwriting agreement from the selling stockholders at the public offering price stated in the
prospectus supplement through delayed delivery contracts providing for payment and delivery on a specified date in
the future. If the selling stockholders sell shares of our common stock through these delayed delivery contracts, the
prospectus supplement will state that, as well as the conditions to which these


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delayed delivery contracts will be subject, and the commissions payable for that solicitation. The applicable
prospectus supplement will set forth whether or not the underwriters may over-allot or effect transactions that
stabilize, maintain or otherwise affect the market price of the shares of our common stock at levels above those that
might otherwise prevail in the open market, including, for example, by entering stabilizing bids, effecting syndicate
covering transactions or imposing penalty bids. Underwriters are not required to engage in any of these activities, or
to continue these activities if commenced.

     The underwriters, if any, may sell these shares to or through dealers. These dealers may arrange for other
dealers to participate in sales and may receive compensation in the form of discounts, concessions or commissions
from the underwriters and/or commissions from the purchasers for whom they may act as agent. Any public offering
price and any discounts or concessions allowed or reallowed or paid to dealers may be changed from time to time
and may exceed customary commissions.

     If dealers are utilized in the sale of shares of our common stock, the selling stockholders will sell the shares to
the dealers as principals. The dealers may then resell the shares to the public at varying prices to be determined by
such dealers at the time of resale. The names of the dealers and the terms of the transaction will be set forth in a
prospectus supplement, if required.

     The selling stockholders may also sell shares of our common stock through agents designated by them from
time to time. We will name any agent involved in the offer or sale of the shares and will list commissions payable by
the selling stockholders to these agents in a prospectus supplement, if required. These agents will be acting on a best
efforts basis to solicit purchases for the period of their appointment, unless we state otherwise in any required
prospectus supplement.

     We and the selling stockholders may indemnify underwriters, dealers or agents who participate in the
distribution of securities against specified liabilities, including liabilities under the Securities Act, and agree to
contribute to payments which these underwriters, dealers or agents may be required to make.

     In connection with an underwritten offering of our common stock under this prospectus, the underwriters may
purchase and sell securities in the open market. These transactions may include short sales, stabilizing transactions
and purchases to cover positions created by short sales. Short sales involve the sale by the underwriters of a greater
number of securities than they are required to purchase in an offering. Stabilizing transactions consist of certain bids
or purchases made for the purpose of preventing or retarding a decline in the market price of the securities while an
offering is in progress.

    The underwriters also may impose a penalty bid. This occurs when a particular underwriter repays to the
underwriters a portion of the underwriting discount received by it because the underwriters have repurchased
securities sold by or for the account of that underwriter in stabilizing or short-covering transactions.

    These activities by the underwriters may stabilize, maintain or otherwise affect the market price of our common
stock offered under this prospectus. As a result, the price of our common stock may be higher than the price that
otherwise might exist in the open market. If these activities are commenced, they may be discontinued by the
underwriters at any time. These transactions may be effected on the New York Stock Exchange or other securities
exchange, the Nasdaq Global Market System or another automated quotation system, or in the over-the-counter
market or otherwise.

     At any time a particular offer of the shares of our common stock covered by this prospectus is made, a
prospectus supplement, if required, will be distributed at the request of the selling stockholders. The supplement will
set forth the specific terms of the offering of securities, including:

     •     the name of the selling stockholders and other participating broker-dealer(s);

     •     the number of shares of our common stock offered;

     •     the price such shares of our common stock are being sold;
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•   the proceeds to the selling stockholders from the sale of such shares;

•   the specific plan of distribution for such shares of our common stock;

•   the names of the underwriters or agents, if any;


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     •     any underwriting discounts, agency fees or other compensation to underwriters or agents;

     •     any discounts or concessions allowed or paid to dealers; and

     •     any other facts material to the transaction.

                                                 LEGAL MATTERS

    The validity of the securities offered hereby will be passed upon by Sidley Austin LLP, Chicago, Illinois.

                                                      EXPERTS

     The financial statements and management’s assessment of the effectiveness of internal control over financial
reporting (which is included in Management’s Report on Internal Control over Financial Reporting) incorporated in
this prospectus by reference to our Annual Report on Form 10-K for the year ended December 31, 2006 have been
so incorporated in reliance on the report of PricewaterhouseCoopers LLP, an independent registered public
accounting firm, given on the authority of said firm as experts in auditing and accounting.

                               WHERE YOU CAN FIND MORE INFORMATION

     We file annual, quarterly and current reports, proxy statements and other information with the SEC. You may
read and copy any materials that we file with the SEC at the SEC’s Public Reference Room at 100 F Street, N.E.,
Washington, D.C. 20549. You may obtain information on the operation of the public reference room by calling the
SEC at 1-800-SEC-0330. The SEC maintains an internet site at http://www.sec.gov that contains reports, proxy and
information statements and other information regarding issuers, such as Tribune, that file electronically with the
SEC. In addition, you may inspect our SEC filings at the offices of the New York Stock Exchange, 20 Broad Street,
New York, New York 10005.

     The SEC allows us to “incorporate by reference” into this prospectus the information we file with the SEC,
which means that we can disclose important information to you by referring you to those documents. The
information incorporated by reference is considered to be part of this prospectus, and information that we file later
with the SEC will automatically update and supersede this information. SEC rules and regulations also permit us to
“furnish” rather than “file” certain reports and information with the SEC. Any such reports or information which we
have indicated as being “furnished” shall not be deemed to be incorporated by reference into or otherwise become a
part of this prospectus, regardless of when furnished to the SEC. We incorporate by reference the following
documents we filed with the SEC (file number 1-08572) and any future filings that we make with the SEC under
Sections 13(a), 13(c), 14, or 15(d) of the Securities Exchange Act of 1934 until we or any agents or underwriters sell
all of the securities:

    •    Our Annual Report on Form 10-K for the year ended December 31, 2006;

    •    Our Current Reports on Form 8-K filed with the SEC on February 16, 2007, April 5, 2007 and April 24,
         2007; and

    •    The description of our common stock contained in our registration statement on Form 8-A dated
         September 8, 1983 filed with the SEC under Section 12(b) of the Securities Exchange Act of 1934 and the
         “Description of Tribune Capital Stock” section of our registration statement on Form S-4 filed with the
         SEC on April 21, 2000, as amended by Amendment No. 1 to Form S-4 filed with the SEC on May 5, 2000,
         including any amendments or reports for the purpose of updating such descriptions.

   You may obtain a copy of these filings, at no cost, by writing to or telephoning us at the following address:
Corporate Relations Department, Tribune Company, Suite 600, 435 North Michigan Avenue, Chicago, Illinois
60611, Telephone: (800) 757-1694 or through our website at www.tribune.com.
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     Any statement contained in this prospectus or in a document incorporated by reference into this prospectus shall
be deemed to be modified or superseded to the extent such statement is modified or superseded in any subsequently
filed document. Any statement so modified or superseded shall not be deemed, except as so modified or superseded,
to constitute a part of this prospectus.




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                                                        PART II

                              INFORMATION NOT REQUIRED IN PROSPECTUS

Item 14. Other Expenses of Issuance and Distribution.

        The estimated expenses in connection with the issuance and distribution of the securities, other than
underwriting discounts and agency fees or commissions, are set forth in the following table.

SEC registration fee                                                                                        $ 48,494.42
Legal fees and expenses (other than for counsel for the selling stockholders) (1)                              50,000.00
Accounting fees and expenses (1)                                                                               35,000.00
Printer and Miscellaneous (1)                                                                                  10,000.00
Total                                                                                                       $ 143,494.42

(1) Estimated amounts of fees and expenses to be incurred in connection with the registration, issuance and
distribution of the securities pursuant to this registration statement. The actual amounts of fees and expenses will be
determined from time to time.

Item 15. Indemnification of Directors and Officers.

     Certain provisions of the General Corporation Law of the State of Delaware (the “DGCL”) provide that the
Registrant may indemnify the directors and officers of the Registrant and affiliated companies against liabilities and
expenses incurred by reason of the fact that such persons were serving in such capacities, subject to certain
limitations and conditions set forth in the statute. Article TWELFTH of the Registrant’s Amended and Restated
Certificate of Incorporation provides that the Registrant shall indemnify its directors and officers to the fullest extent
permitted by the DGCL. In accordance with Section 102(b)(7) of the DGCL, the Registrant’s Amended and
Restated Certificate of Incorporation provides that no directors of the Registrant shall be personally liable to the
Registrant or its stockholders for monetary damages for breach of fiduciary duty as a director except for (i) breach of
the director’s duty of loyalty to the Registrant or its stockholders, (ii) acts or omissions not in good faith or which
involve intentional misconduct or a knowing violation of law, (iii) unlawful payment of dividends under Section 174
of the DGCL or (iv) transactions from which the director derives an improper personal benefit.

     Pursuant to Section 145 of the DGCL and the Registrant’s Amended and Restated Certificate of Incorporation,
the directors and officers of the Registrant are covered by Directors and Officers Liability and Corporation
Reimbursement insurance policies.


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Item 16. Exhibits.

       (a) Exhibits

Exhibit
No.                                                         Description

4.1         Registration Rights Agreement, dated as of April 1, 2007, by and between Tribune Company and each of
            Chandler Trust No. 1 and Chandler Trust No. 2 (incorporated by reference to Exhibit 4.2 to the
            Registrant’s Current Report on Form 8-K filed on April 5, 2007).

5.1*        Opinion of Sidley Austin LLP.

23.1*       Consent of PricewaterhouseCoopers LLP.

23.2*       Consent of Sidley Austin LLP (included in the opinion filed as Exhibit 5.1 to this Registration Statement).

24.1*       Powers of Attorney (contained in the signature page to this Registration Statement).

* Filed herewith.

Item 17. Undertakings.

           (a) The undersigned Registrant hereby undertakes:

          (1) To file, during any period in which offers or sales are being made, a post-effective amendment to this
registration statement:

           (i) To include any prospectus required by Section 10(a)(3) of the Securities Act of 1933;

          (ii) To reflect in the prospectus any facts or events arising after the effective date of the registration
statement (or the most recent post-effective amendment thereof) which, individually or in the aggregate, represent a
fundamental change in the information set forth in the registration statement. Notwithstanding the foregoing, any
increase or decrease in volume of securities offered (if the total dollar value of securities offered would not exceed
that which was registered) and any deviation from the low or high end of the estimated maximum offering range
may be reflected in the form of prospectus filed with the Commission pursuant to Rule 424(b) if, in the aggregate,
the changes in volume and price represent no more than a 20 percent change in the maximum aggregate offering
price set forth in the “Calculation of Registration Fee” table in the effective registration statement; and

          (iii) To include any material information with respect to the plan of distribution not previously disclosed in
the registration statement or any material change to such information in the registration statement;

          provided, however, that paragraphs (a)(1)(i), (a)(1)(ii) and (a)(1)(iii) of this section do not apply if the
information required to be included in a post-effective amendment by those paragraphs is contained in periodic
reports filed with or furnished to the Commission by the Registrant pursuant to Section 13 or 15(d) of the Securities
Exchange Act of 1934 that are incorporated by reference in the registration statement, or is contained in a form of
prospectus filed pursuant to Rule 424(b) that is part of the registration statement.

          (2) That, for the purpose of determining any liability under the Securities Act of 1933, each such post-
effective amendment shall be deemed to be a new registration statement relating to the securities offered therein, and
the offering of such securities at that time shall be deemed to be the initial bona fide offering thereof.

         (3) To remove from registration by means of a post-effective amendment any of the securities being
registered which remain unsold at the termination of the offering.
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         (4) That, for the purpose of determining liability under the Securities Act of 1933 to any purchaser:

          (A) Each prospectus filed by the registrant pursuant to Rule 424(b)(3) shall be deemed to be part of the
registration statement as of the date the filed prospectus was deemed part of and included in the registration
statement; and

          (B) Each prospectus required to be filed pursuant to Rule 424(b)(2), (b)(5), or (b)(7) as part of a registration
statement in reliance on Rule 430B relating to an offering made pursuant to Rule 415(a)(1)(i), (vii), or (x) for the
purpose of providing the information required by Section 10(a) of the Securities Act of 1933 shall be deemed to be
part of and included in the registration statement as of the earlier of the date such form of prospectus is first used
after effectiveness or the date of the first contract of sale of securities in the offering described in the prospectus. As
provided in Rule 430B, for liability purposes of the issuer and any person that is at that date an underwriter, such
date shall be deemed to be a new effective date of the registration statement relating to the securities in the
registration statement to which that prospectus relates, and the offering of such securities at that time shall be
deemed to be the initial bona fide


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offering thereof. Provided, however, that no statement made in a registration statement or prospectus that is part of
the registration statement or made in a document incorporated or deemed incorporated by reference into the
registration statement or prospectus that is part of the registration statement will, as to a purchaser with a time of
contract of sale prior to such effective date, supersede or modify any statement that was made in the registration
statement or prospectus that was part of the registration statement or made in any such document immediately prior
to such effective date.

        (5) That, for the purpose of determining liability of the Registrant under the Securities Act of 1933 to any
purchaser in the initial distribution of the securities:

         The undersigned Registrant undertakes that in a primary offering of securities of the undersigned Registrant
pursuant to this registration statement, regardless of the underwriting method used to sell the securities to the
purchaser, if the securities are offered or sold to such purchaser by means of any of the following communications,
the undersigned registrant will be a seller to the purchaser and will be considered to offer or sell such securities to
such purchaser:

         (i) Any preliminary prospectus or prospectus of the undersigned Registrant relating to the offering required
         to be filed pursuant to Rule 424;

         (ii) Any free writing prospectus relating to the offering prepared by or on behalf of the undersigned
         Registrant or used or referred to by the undersigned Registrant;

         (iii) The portion of any other free writing prospectus relating to the offering containing material
         information about the undersigned Registrant or its securities provided by or on behalf of the undersigned
         Registrant; and

         (iv) Any other communication that is an offer in the offering made by the undersigned Registrant to the
         purchaser.

          (b) The undersigned Registrant hereby undertakes that, for purposes of determining any liability under the
Securities Act of 1933, each filing of the Registrant’s annual report pursuant to Section 13(a) or Section 15(d) of the
Securities Exchange Act of 1934 (and, where applicable, each filing of an employee benefit plan’s annual report
pursuant to Section 15(d) of the Securities Exchange Act of 1934) that is incorporated by reference in the
registration statement shall be deemed to be a new registration statement relating to the securities offered therein,
and the offering of such securities at that time shall be deemed to be the initial bona fide offering thereof.

         (c) The undersigned Registrant hereby undertakes to deliver or cause to be delivered with the prospectus,
to each person to whom the prospectus is sent or given, the latest annual report, to security holders that is
incorporated by reference in the prospectus and furnished pursuant to and meeting the requirements of Rule 14a-3 or
Rule 14c-3 under the Securities Exchange Act of 1934; and, where interim financial information required to be
presented by Article 3 of Regulation S-X is not set forth in the prospectus, to deliver, or cause to be delivered to
each person to whom the prospectus is sent or given, the latest quarterly report that is specifically incorporated by
reference in the prospectus to provide such interim financial information.

          (d) Insofar as indemnification for liabilities arising under the Securities Act of 1933 may be permitted to
directors, officers and controlling persons of the Registrant pursuant to the foregoing provisions, or otherwise, the
Registrant has been advised that in the opinion of the Securities and Exchange Commission such indemnification is
against public policy as expressed in the Act and is, therefore, unenforceable. In the event that a claim for
indemnification against such liabilities (other than the payment by the Registrant of expenses incurred or paid by a
director, officer or controlling person of the Registrant in the successful defense of any action, suit or proceeding) is
asserted by such director, officer or controlling person in connection with the securities being registered, the
Registrant will, unless in the opinion of its counsel the matter has been settled by controlling precedent, submit to a
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court of appropriate jurisdiction the question whether such indemnification by it is against public policy as
expressed in the Act and will be governed by the final adjudication of such issue.




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                                                   SIGNATURES

     Pursuant to the requirements of the Securities Act of 1933, the Registrant certifies that it has reasonable grounds
to believe that it meets all of the requirements for filing on Form S-3 and has duly caused this registration statement
to be signed on its behalf by the undersigned, thereunto duly authorized, in the City of Chicago, State of Illinois, on
April 25, 2007.

                                                                TRIBUNE COMPANY
                                                                (Registrant)

                                                                By /s/ Dennis J. FitzSimons
                                                                   Dennis J. FitzSimons
                                                                   Chairman, President and Chief Executive Officer


     KNOW ALL MEN BY THESE PRESENTS, that each person whose signature appears below constitutes and
appoints Chandler Bigelow, Donald C. Grenesko and Crane H. Kenney, and each of them, his/her true and lawful
attorneys-in-fact and agents, with full power of substitution and resubstitution, to sign, execute and file with the
Securities and Exchange Commission (or any other governmental or regulatory authority), for us and in our names
in the capacities indicated below, this registration statement on Form S-3 (including all amendments thereto), and
any Registration Statement filed pursuant to Rule 462(b) or Rule 462(e) of the Securities Act in connection with the
securities registered hereunder, together with all exhibits and any and all documents required to be filed with respect
thereto, granting unto said attorneys-in-fact and agents and each of them, full power and authority to do and to
perform each and every act and thing necessary and/or desirable to be done in and about the premises in order to
effectuate the same as fully to all intents and purposes as he himself/she herself might or could do if personally
present, hereby ratifying and confirming all that said attorneys-in-fact and agents, or any of them, may lawfully do
or cause to be done by virtue hereof.

     Pursuant to the requirements of the Securities Act of 1933, this registration statement has been signed by the
following persons in the capacities indicated on April 25, 2007.

                         Name                                                          Title

/s/ Dennis J. FitzSimons                                   Chairman, President and Chief Executive Officer and
                                                           Director
Dennis J. FitzSimons                                       (Principal Executive Officer)


/s/ Donald C. Grenesko                                     Senior Vice President, Finance and Administration
Donald C. Grenesko                                         (Principal Financial Officer)


/s/ R. Mark Mallory                                        Vice President and Controller
R. Mark Mallory                                            (Principal Accounting Officer)


/s/ Jeffrey Chandler                                       Director
Jeffrey Chandler


/s/ Roger Goodan                                           Director
Roger Goodan


/s/ Enrique Hernandez, Jr.                                 Director
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Enrique Hernandez, Jr.




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/s/ Betsy D. Holden                       Director
Betsy D. Holden


/s/ Robert S. Morrison                    Director
Robert S. Morrison


/s/ William A. Osborn                     Director
William A. Osborn


/s/ J. Christopher Reyes                  Director
J. Christopher Reyes


/s/ William Stinehart, Jr.                Director
William Stinehart, Jr.


/s/ Dudley S. Taft                        Director
Dudley S. Taft


/s/ Miles D. White                        Director
Miles D. White




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                                                  EXHIBIT INDEX



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No.                                                            Description



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